Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 1 of 19 PageID #: 5892




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION
   ULTRAVISION TECHNOLOGIES, LLC,   )      Case No. 2:19-cv-00291-JRG-RSP
                                    )      (LEAD CASE)
                      Plaintiff,    )
                                    )      JURY TRIAL DEMANDED
         v.                         )
                                    )
   HOLOPHANE EUROPE LIMITED,        )
   ACUITY BRANDS LIGHTING DE        )
   MEXICO S DE RL DE CV, HOLOPHANE )
   S.A. DE CV and ARIZONA (TIANJIN) )
   ELECTRONICS PRODUCT TRADE CO.,   )
   LTD.,                            )
                                    )      Case No 2:19-cv-00398-JRG-RSP
   YAHAM OPTOELECTRONICS CO., LTD., )      (CONSOLIDATED CASE)
                      Defendants.   )      JURY TRIAL DEMANDED
                                    )




           PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S RESPONSE
             IN OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE
        PORTIONS OF DR. ZANE COLEMAN’S EXPERT REPORT REGARDING
         INFRINGEMENT THEORIES NO DISCLOSED IN FACT DISCOVERY
             AND PLAINTIFF’S ARGUMENT OF THE SAME (DKT. 131)
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 2 of 19 PageID #: 5893




                                                   TABLE OF CONTENTS
                                                                                                                                     Page(s)

   I.     INTRODUCTION .............................................................................................................. 1

   II.    FACTUAL BACKGROUND ............................................................................................. 1

          A.         Ultravision Properly Accused the RSXF Products of Infringement ....................... 1

          B.         Dr. Coleman’s Inducement Opinions are Consistent with Ultravision’s
                     Allegations .............................................................................................................. 5

   III.   LEGAL STANDARD ......................................................................................................... 6

   IV.    ANALYSIS ......................................................................................................................... 7

          A.         Ultravision’s Infringement P.R. 3-1 Contentions Properly Identified the
                     RSX Family, Including the Accused RSXF Models .............................................. 7

          B.         The Factors Weigh against Exclusion of Dr. Coleman’s Opinions ........................ 8

                     1.         Defendants Have Not been Unfairly Prejudiced ......................................... 8

                     2.         Dr. Coleman’s Opinions Regarding the RSXF Models are
                                Important ................................................................................................... 10

                     3.         Explanation for Any Untimeliness............................................................ 10

                     4.         A Continuance is Not Necessary .............................................................. 11

          C.         Dr. Coleman’s Inducement Opinions Are Proper ................................................. 12

   V.     CONCLUSION ................................................................................................................. 13




                                                                       i
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 3 of 19 PageID #: 5894




                                                   TABLE OF AUTHORITIES

                                                                                                                                      Page(s)

   Cases

   Anascape, Ltd. v. Microsoft Corp.,
      No. 9:06-cv-158, 2008 WL 7180756 (E.D. Tex. May 1, 2008) ................................................7

   Fenner Invs., Ltd. v. Hewlett-Packard Co.,
      CIV.A. 6:08-CV-273, 2010 WL 786606 (E.D. Tex. Feb. 26, 2010) ...................................7, 12

   Finisar Corp. v. DirecTV Group, Inc.,
      424 F. Supp. 2d 896 (E.D. Tex. 2006) .....................................................................................10

   Linex Techs., Inc. v. Belkin Int’l, Inc.,
      628 F. Supp. 2d 703 (E.D. Tex. 2008) .......................................................................................6

   Orion IP, LLC v. Staples, Inc.,
      407 F. Supp. 2d 815 (E.D. Tex. 2006) .....................................................................................10

   S&W Enterprises, L.L.C. v. SouthTrust Bank of Alabama, NA,
     315 F.3d 533 (5th Cir. 2003) .....................................................................................................7

   Semcon IP Inc. v. ZTE Corp.,
      2:16-CV-00437-JRG-RSP, 2018 WL 4501808 (E.D. Tex. Feb. 28, 2018) ...............................8

   STMicroelectronics, Inc. v. Motorola, Inc.,
      308 F. Supp. 2d 754 (E.D. Tex. 2004) .......................................................................................6

   Team Worldwide Corp. v. Acad., LTD,
      2:19-CV-00092-JRG-RSP, 2020 WL 4601635 (E.D. Tex. Aug. 11, 2020) ..............................6

   Statutes

   35 U.S.C. § 271(b) ...........................................................................................................................5




                                                                         ii
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 4 of 19 PageID #: 5895




          Plaintiff Ultravision Technologies, LLC (“Ultravision”) respectfully submits this

   Response in Opposition to Defendants’ Motion to Strike Portions of Dr. Zane Coleman’s Expert

   Report (Dkt. 131). The Motion should be denied.

   I.     INTRODUCTION

          This Motion should be denied because Ultravision properly provided notice of the

   infringement on which Dr. Coleman opined.

          First, Ultravision’s infringement contentions identified the entire RSX product family,

   including the RSX. Ultravision defined “RSX LED” based on documents identifying the full

   RSXF product series, and Ultravision’s claim charts included annotated illustrations of an

   RSXF2. Defendants laid behind the log throughout fact discovery and cannot now contend that

   this identification was somehow unclear.

          Second, Defendants acknowledge that Ultravision properly plead induced infringement.

   Defendants failed to seek discovery regarding Ultravision’s indirect infringement claims, and

   now seek to use that failure to exclude Dr. Coleman’s technical opinions regarding the Accused

   Products as they relate to induced infringement. But Dr. Coleman’s technical opinions are fully

   supported by his report, and Defendants have been on notice of Ultravision’s indirect

   infringement claims since the outset of this case.

          Defendants’ failure to raise these issues during fact discovery should not be rewarded,

   and the Motion should be denied in its entirety.

   II.    FACTUAL BACKGROUND

           A.      Ultravision Properly Accused the RSXF Products of Infringement

          Ultravision’s contentions properly accused all models of Defendants’ RSX LED products

   of infringement, including RSXF models. See Ex. A at 1 (“at least the claims of [the ’946 patent]

   identified below are infringed by Holophane’s RSX LED”). RSXF products are floodlight
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 5 of 19 PageID #: 5896




   versions within the RSX family. See Ex. B at 2-9, 28-50. They include the same LED modules as

   the rest of the RSX family, include a nearly identical housing, and otherwise have the same range

   of technical specifications the RSX area lights that make up the rest of accused RSX family. See

   Ex. C ¶¶ 154. The sole differences between RSX area and flood lights are the available mounting

   options, which overlap, and the available lens or “optics” options, which are similar. Id. ¶¶ 147-

   148; see also Ex. B at 10-16.

          Contrary to Defendants’ mischaracterizations, Ultravision’s January 28, 2020

   infringement contentions accused all “RSX LED” products, including RSXF versions.

   Ultravision identified both RSX and RSXF models in footnotes defining the “RSX LED.” Ex. A

   at note 1 (video identifying RSXF4 at 1:37, and depicting other floodlight variants throughout,

   e.g. the RSXF2 at 2:48); id. at note 2 (identifying RSXF1-4 models at p. 44); id. at note 3

   (identifying mounts and optics for both RSX and RSXF variants throughout). Ultravision cited

   the “RSX LED Area and Flood” presentation at note 2 to show that the “RSX LED” products

   include both “Area and Flood” variants, as discussed throughout the presentation, and as

   specifically identified at page 44. Ex. D at 44 (UVT-HOLO00000074) (depicted below).




          Ultravision’s infringement contentions charted RSXF variants of the Accused RSX

   products in parallel representative RSX area light variants. See e.g. Ex. A at 19-22. Defendants’



                                                    2
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 6 of 19 PageID #: 5897




   parent company uses the same images in advertising the “RSX Family” on webpages hosting the

   spec sheets cited in Ultravision’s infringement contentions: 1




          Defendants and their parent company, Acuity Brands Lighting (“ABL”), demonstrated

   their awareness that the RSXF products were accused during fact discovery.




   1
     See https://www.acuitybrands.com/products/family/rsx. Defendants further acknowledge that
   the “accused product families in this case” include the RSX. Dkt. 128 at 8.


                                                    3
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 7 of 19 PageID #: 5898




           Defendants did not inform Ultravision of their position that the accused RSX products

   did not include RSXF models prior to submitting their rebuttal non-infringement report in this

   action. Contrary to the misleading statements in Defendants’ Motion, their Interrogatory Nos. 5

   and 13 regarding damages did not request further identification of Accused Products. Ex. I at 7;

   Ex. J at 7. Nor did Defendants ever seek such identification in correspondence regarding

   Ultravision’s responses to those interrogatories. Nor did Defendants ever contend that the

   identification of RSX LED products in Ultravision’s contentions required supplementation or

   clarification.

           Ultravision proposed supplemental infringement contentions for a number of products not

   originally accused in this case. Contrary to Defendants’ mischaracterization, those contentions

   did not include the RSXF products because they were already identified in Ultravision’s original

   contentions regarding RSX products. When presented with this demonstration of Ultravision’s

   understanding that the RSXF products did not require supplemental identification, Defendants

   remained silent.




                                                   4
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 8 of 19 PageID #: 5899




          On October 19, 2020, Ultravision submitted the Expert Report of Zane Coleman Ph.D.

   Regarding Infringement of the Asserted Patents (the “Coleman Report”). Consistent with

   Ultravision’s infringement contentions,




           B.      Dr. Coleman’s Inducement Opinions are Consistent with Ultravision’s
                   Allegations

          Defendants do not contest that Ultravision’s complaint sufficiently plead induced

   infringement. For example, Ultravision alleged that Acuity Mexico “knowingly and intentionally

   induces infringement of one or more claims of the ’946 Patent in violation of 35 U.S.C. § 271(b),

   including at least claim 1, by actively encouraging others to make, use, offer to sell, and/or sell

   within the United States and/or import into the United States products . . . For example, upon

   information and belief, Defendants sell or otherwise provide products, including but not limited

   to Defendants’ Mongoose LED, to distributors, installers, or U.S.-based sales entities, knowing

   that these entities intend to make, use, offer to sell, and/or sell the products within the United

   States.” See Dkt. 1 at ¶¶ 55-56.

          Defendants did not inquire regarding Ultravision’s indirect infringement allegations at

   any time during fact discovery, and served no interrogatories seeking facts regarding induced



                                                     5
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 9 of 19 PageID #: 5900




   infringement. Defendants’ suggestion that their damages interrogatories requested Ultravision’s

   indirect infringement contentions is simply false. Ex. I at 7; Ex. J at 7. Moreover, Defendants

   never addressed Ultravision’s indirect infringement positions in correspondence regarding those

   interrogatory responses and did not otherwise request that information during fact discovery.

          Dr. Coleman opines that “Defendants import, make, use, offer to sell and/or sell products

   to and in the United States that comprise all of the elements of the asserted claims of the Patent-

   in-suit, and/or actively induces their customers to make, use, offer to sell, sell, and/or import

   products that comprise all elements of the asserted claims.” Ex. C at ¶ 142. Dr. Coleman does not

   opine on Defendants’ intent or knowledge and will not present non-technical opinions at trial.

   Rather, Dr. Coleman opines that the technical elements of the Accused Products satisfy the

   limitations of the asserted claims, including where the underlying infringement is indirect. See

   e.g. id. at ¶151 (“I understand that Ultravision contends that the accused fixtures infringe the

   Asserted Claims patent both directly and indirectly.”).

   III.   LEGAL STANDARD

          Infringement contentions provide defendants with a notice of plaintiff’s infringement

   theories. Linex Techs., Inc. v. Belkin Int’l, Inc., 628 F. Supp. 2d 703, 706 (E.D. Tex. 2008).

   “Infringement contentions ‘are not meant to provide a forum for litigation of the substantive

   issues; they are merely designed to streamline the discovery process.’” Id. at 713 (citing

   STMicroelectronics, Inc. v. Motorola, Inc., 308 F. Supp. 2d 754, 755 (E.D. Tex. 2004)). “Courts

   have excused plaintiffs from charting each instrumentality if the charts would be identical or if

   one instrumentality is sufficiently representative of others.” Team Worldwide Corp. v. Acad.,

   LTD, 2:19-CV-00092-JRG-RSP, 2020 WL 4601635, at *2 (E.D. Tex. Aug. 11, 2020) (citations

   omitted).




                                                     6
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 10 of 19 PageID #: 5901




          P.R. 3-1 does not require explicit disclosure of inducement allegations. See Fenner Invs.,

   Ltd. v. Hewlett-Packard Co., CIV.A. 6:08-CV-273, 2010 WL 786606, at *2 (E.D. Tex. Feb. 26,

   2010) (“[Defendants’] assertion that P.R. 3–1 requires explicit disclosure of inducement

   allegations in the infringement contentions is incorrect.”). A plaintiff may “provide[] sufficient

   notice of its inducement claims” in its complaint, by identification of evidence, or through

   discovery responses. Id. at *3.

          Deciding if an expert report should be struck is akin to excluding evidence due to a

   discovery violation. Anascape, Ltd. v. Microsoft Corp., No. 9:06-cv-158, 2008 WL 7180756, at

   *2 (E.D. Tex. May 1, 2008). This Court has considered non-exclusive factors determining

   whether to strike expert reports, including: (1) the explanation for untimeliness; (2) the

   importance of evidence that might be excluded; (3) the danger of unfair prejudice; and (4) the

   availability of a continuance to cure any prejudice. See S&W Enterprises, L.L.C. v. SouthTrust

   Bank of Alabama, NA, 315 F.3d 533, 536 (5th Cir. 2003).

   IV.    ANALYSIS

           A.      Ultravision’s Infringement P.R. 3-1 Contentions Properly Identified the
                   RSX Family, Including the Accused RSXF Models

          Ultravision’s January 28, 2020 infringement contentions identified the entire RSX

   product family, including RSXF models thereof. See Supra Section II.A. Accordingly, the

   products identified in Dr. Coleman’s report were originally accused, and the Motion should be

   denied because Ultravision properly provided Defendants with notice pursuant to P.R. 3-1.

          Defendants’ argument relies on the mischaracterization that the RSXF products were not

   identified because they were not among the two representative instrumentalities listed in a table

   within Ultravision’s Disclosure of Asserted Claims and Infringement Contentions. Dkt. 131 at 3

   (citing Ex. 1). As an initial matter, Defendants are apparently aware that products in that table



                                                    7
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 11 of 19 PageID #: 5902




   are exemplary, as they do not contend that Ultravision failed to identify other RSX area light

   models not in that list (e.g. the RSX1 and RSX4). In any case, Defendants ignore that the claim

   chart attached to Ultravision’s contentions as Appendix 5 identified the entire “RSX LED” as

   including the entire RSX family with footnotes identifying documents that specifically describe

   the entire RSX “Area and Flood” family. See e.g. Ex A at 1; Ex. D at 44. Defendants also ignore

   that Ultravision included annotated pictures of the RSXF2 in its claim chart. See Ex A at 19-22.

   Accordingly, Defendants’ assertion that Ultravision did not identify the RSXF models is

   incorrect. Defendants’ motion to strike Dr. Coleman’s opinions regarding the RSXF products

   should be denied as a threshold matter.

           B.      The Factors Weigh against Exclusion of Dr. Coleman’s Opinions

          Even if Dr. Coleman’s opinions regarding the RSXF products were new – they are not –

   they should not be stricken under the Court’s four factor analysis.

                  1.      Defendants Have Not been Unfairly Prejudiced

          Defendants are not unfairly prejudiced because Ultravision advances the same theory

   against the RSXF models as Defendants have long known to be asserted against all RSX

   products. See Semcon IP Inc. v. ZTE Corp., 2:16-CV-00437-JRG-RSP, 2018 WL 4501808, at *3

   (E.D. Tex. Feb. 28, 2018) (“[T]he original theory, which relied on the DVFS framework of the

   ARM Cortex-A5, Cortex-A7, and Cortex-A9 processor designs, appears to generally be the same

   . . . Thus, to the extent that one of the originally accused 32 products includes one of these later

   architectures, reference to the later architecture is not stricken.”). Dr. Coleman’s opinions

   regarding the RSXF products are both within the scope of Ultravision’s original contentions, and

   identical to his opinions regarding infringement by RSX area lights.

          Dr. Coleman relied on a single claim chart advancing parallel theories against all RSX

   and RSXF models because Ultravision’s theory of infringement against each product is identical.


                                                     8
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 12 of 19 PageID #: 5903




                                                                                          Thus, even

   accepting their incorrect assertion that the RSXF products were not identified, Defendants had

   ample time to address Ultravision’s arguments, and in fact responded with the same defenses

   they raised regarding the RSX area lights.

          Defendants resort to mischaracterizing Dr. Coleman’s testimony, without providing any

   citation, to assert that some unspecified differences in the “form factor” or light distribution

   among the RSX family resulted in different theories of infringement. Dkt. 131 at 8. They did not,

   as Dr. Coleman’s report explains in detail. See Ex. C ¶ 148.



                                                    Slight differences in “form factor” are similarly

   irrelevant, as each product comprises an aluminum housing that acts as a heat sink, each uses a




                                                     9
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 13 of 19 PageID #: 5904




   number of the same light engine components, and each has an ingress protection rating of 66. Id.

   ¶ 154-55.

          Accordingly, because Defendants have had notice of Ultravision’s theory of infringement

   against the RSXF models of the RSX family since service of its original infringement

   contentions, they would not have been prejudiced even if the RSXF models were not identified.

                  2.        Dr. Coleman’s Opinions Regarding the RSXF Models are Important

          Dr. Coleman’s opinions regarding infringement of the RSXF products are important

   because their exclusion would effectively dispose of infringement for those products for the

   purposes of this case.

                                                 Thus, xclusion of Dr. Coleman’s opinions would

   prevent Ultravision from timely enforcing its patent rights against a significant portion of

   accused products.

                  3.        Explanation for Any Untimeliness

          Even if Ultravision’s identification of the RSXF products were not sufficient under P.R.

   3-1 (it was), Ultravision reasonably understood that Defendants had notice of its infringement

   theories without supplementation. “A defendant cannot lay behind the log until late in the case

   and then claim it lacks notice as to the scope of the case or the infringement contentions . . . the

   burden of notice the Patent Rules place on plaintiffs is intended to be a shield for defendants, not

   a sword.” Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817–18 (E.D. Tex. 2006); see also

   Finisar Corp. v. DirecTV Group, Inc., 424 F. Supp. 2d 896, 901 (E.D. Tex. 2006) (“The Local

   Patent Rules exist to further the goal of full, timely discovery and provide all parties with

   adequate notice and information with which to litigate their cases, not to create supposed

   loopholes through which parties may practice litigation by ambush.”) (citations omitted).




                                                    10
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 14 of 19 PageID #: 5905




   Defendants’ failure to alert Ultravision to any issue with its contentions against the RSX

   products during fact discovery weighs against striking Dr. Coleman’s opinions.

          Contrary to their new protests, Defendants’ actions during the fact discovery period show

   that they were aware the entire RSX family of products were accused of infringement. See supra

   Section II.A. Ultravision’s claim charts included pictures of the RSXF2, and defined “RSX

   LED” with footnotes to numerous documents specifically identifying floodlight versions.

   Defendants apparently had no issues recognizing that the RSX1 and RSX4 were accused in the

   same chart, despite the fact that they were not among the representative products listed.




                                 Defendants remained silent, despite these indications that the

   RSXF products were accused. Defendants did not seek to clarify the identification of Accused

   Products in response to interrogatories that they now contend sought that information, nor did

   they inquire regarding the RSXF products when Ultravision did not include them in the set of

   products it understood to require supplemental charts. See supra II.A. Defendants instead laid

   behind the log, apparently waiting to file the instant motion, and waived any objections.

          Accordingly, this factor weighs against striking Dr. Coleman’s opinions.

                  4.     A Continuance is Not Necessary

          This factor weighs against striking Dr. Coleman’s opinions, because they do not require a

   continuance of any deadlines. Defendants’ technical expert, Mr. Michael Gershowitz, has

   already fully responded to Dr. Coleman’s opinions regarding the RSXF products,

                                                        and by modeling his own light distributions.


                                                   11
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 15 of 19 PageID #: 5906




   See Ex. L at ¶ 225.




                            Because Defendants have already fully addressed Dr. Coleman’s

   opinions, no continuance is necessary.

           C.      Dr. Coleman’s Inducement Opinions Are Proper

          Defendants are using this Motion to effectively seek summary judgment of no induced

   infringement. Dr. Coleman’s opinions regarding induced infringement are consistent with the

   theory plead in Ultravision’s complaint and are fully supported by his technical opinions

   regarding the Accused Products. To the extent Defendants seek to exclude testimony regarding

   their knowledge or intent, the Motion is moot as Dr. Coleman does not proffer any such

   opinions.

          Moreover, Defendants’ argument that Ultravision failed to properly disclose its induced

   infringement theories is based on a misapprehension of P.R. 3-1, and on outright falsehoods

   regarding the scope of their interrogatories. First, contrary to Defendants’ unsupported

   assertions, P.R. 3-1 does not require explicit disclosure of inducement allegations. See Fenner,

   2010 WL 786606, at *2 (“[Defendants’] assertion that P.R. 3–1 requires explicit disclosure of

   inducement allegations in the infringement contentions is incorrect.”). Defendants were

   undisputedly on notice that Ultravision plead indirect infringement but laid behind the log in an

   attempt to take advantage of their incorrect conclusion that these claims were waived in

   Ultravision’s contentions. Second, Defendants did not seek discovery regarding Ultravision’s

   indirect infringement allegations, and their interrogatory Nos. 5 and 13 do not concern

   Ultravision’s induced infringement allegations. Rather, interrogatory No. 5 sought “all legal and

   factual bases for Your damages claims against Defendants. . .” and Interrogatory No. 13 sought


                                                   12
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 16 of 19 PageID #: 5907




   “[f]or each product . . . that You are claiming entitlement to damages in the form of lost profits,

   identify all competing products. . .” Ex. I at 7; Ex. J at 7. Defendants never mentioned indirect or

   induced infringement in correspondence regarding Ultravision’s responses, nor did they ever

   seek such discovery informally.

          Accordingly, Defendants were on notice of Ultravision’s induced infringement claims,

   and Dr. Coleman’s opinions are proper. Defendants motion should be denied.

   V.     CONCLUSION

          Accordingly, Ultravision respectfully requests that Defendants’ Motion to Strike Portions

   of Dr. Zane Coleman’s Expert Report Regarding Infringement Theories Not Disclosed in Fact

   Discovery and Plaintiff’s Argument of the Same (Dkt. 131) be denied in its entirety.

   Dated: December 14, 2020                              Respectfully submitted

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                                                    13
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 17 of 19 PageID #: 5908




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                                        14
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 18 of 19 PageID #: 5909
Case 2:19-cv-00291-JRG-RSP Document 160 Filed 12/18/20 Page 19 of 19 PageID #: 5910




                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 14, 2020, a true and correct copy of the above and

   foregoing document has been served by email on all counsel of record.


                                                      /s/ Alfred R. Fabricant
                                                         Alfred R. Fabricant
